                                Case 23-10480-CLC                                     Doc 116                  Filed 02/07/24             Page 1 of 7
 Fill in this information to identify the case:

 Debtor 1          Mary  Delores Thomas Baxter
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Southern               Florida
                                         __________ District of __________

 Case number           23-10480-CLC
                       ___________________________________________




Official Form 410S1
Amended Notice of Mortgage Payment Change                                                                                                                                12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                              Wells Fargo Bank, National Association, successor by merger to Wells Fargo Bank
                              Minnesota, National Association, formerly known as Norwest Bank Minnesota, National
                              Association as Trustee for Salomon Brothers Mortgage Securities VII, Inc. Asset-
 Name of creditor: _______________________________________
                              Backed Certificates, Series 1997-LB6                                                                                13
                                                                                                                      Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                                               Date of payment change:
 identify the debtor’s account:                                            9 ____
                                                                          ____ 6 ____
                                                                                   3 ____
                                                                                       5                              Must be at least 21 days after date       3/1/2024
                                                                                                                                                                _____________
                                                                                                                      of this notice


                                                                                                                      New total payment:                               2744.63
                                                                                                                                                                $ ____________
                                                                                                                      Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q No
      q Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                     659.47
                   Current escrow payment: $ _______________                                                        New escrow payment:                  1227.24
                                                                                                                                                $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:                    _______________%                                       New interest rate:          _______________%

                   Current principal and interest payment: $ _______________                                        New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q No
      q Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                                                      New mortgage payment: $ _______________


Official Form 410S1                                                             Notice of Mortgage Payment Change                                                       page 1
                                 Case 23-10480-CLC             Doc 116         Filed 02/07/24         Page 2 of 7


Debtor 1         Mary       Delores      Thomas Last
                                                Baxter
                 _______________________________________________________                                 23-10480-CLC
                                                                                      Case number (if known) _____________________________________
                 First Name     Middle Name          Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q I am the creditor.
     q I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û   _____________________________________________________________
     Signature
                                                                                      Date   2/2/2024
                                                                                             ___________________




 Print:            Wanda    D. Murray
                   _________________________________________________________          Title Authorized  Agent for Creditor
                                                                                            ___________________________
                    First Name                 Middle Name     Last Name



 Company           Aldridge  Pite, LLP
                   _________________________________________________________



 Address           Six Piedmont Center, 3525 Piedmont Road, N.E., Suite 700
                   _________________________________________________________
                    Number            Street

                   Atlanta                         GA      30305
                   ___________________________________________________
                    City                                       State       ZIP Code



 Contact phone     (404 ) 994-7400
                   ________________________                                                 wmurray@aldridgepite.com
                                                                                      Email ________________________




Official Form 410S1                                          Notice of Mortgage Payment Change                                           page 2
Case 23-10480-CLC   Doc 116   Filed 02/07/24   Page 3 of 7
Case 23-10480-CLC   Doc 116   Filed 02/07/24   Page 4 of 7
Case 23-10480-CLC   Doc 116   Filed 02/07/24   Page 5 of 7
Case 23-10480-CLC   Doc 116   Filed 02/07/24   Page 6 of 7
             Case 23-10480-CLC         Doc 116     Filed 02/07/24     Page 7 of 7




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Amended Notice of
Mortgage Payment Change was served electronically or via U.S. Mail, first-class postage prepaid,

to:


                                       SERVICE LIST

DEBTOR(S)
(VIA US MAIL)
Mary Delores Thomas Baxter
13401 SW 265 Ter
Homestead, FL 33032

DEBTOR(S) ATTORNEY
(VIA ELECTRONIC NOTICE)
Jose A Blanco
jose@blancopa.com

CHAPTER 13 TRUSTEE
(VIA ELECTRONIC NOTICE)
Nancy K. Neidich
e2c8f01@ch13miami.com

U.S. TRUSTEE
(VIA ELECTRONIC NOTICE)
Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

                                            Dated: February 7, 2024

                                            /s/ Wanda D. Murray
                                            Wanda D. Murray, FL Bar No. 566381
                                            Aldridge Pite, LLP
                                            Attorney for Secured Creditor
                                            Fifteen Piedmont Center
                                            3575 Piedmont Road, N.E., Suite 500
                                            Atlanta, GA 30305
                                            Phone: (561) 288-6815
                                            Fax: (888) 873-6147
                                            Email: wmurray@aldridgepite.com




                                             -1-
PROOF OF SERVICE
